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           Request for emergency Board meeting
           From:          "Deutsch, Madeline" <madeline.deutsch
           To:
           Cc:            "madelme.deutsc              <madeline.deutsch
           Date:          Mon, 25 Oct 2021 15:46:16 -0400

           Hello        I'd like to request an emergency Board meeting as soon as possible to discuss
           matters relating to a recent article in which Dr. Erica Anderson was quoted.

           Best,

           Maddie

           **************************************

           Maddie Deutsch, MD, MPH
           Medical Director, UCSF Gender Affirming Health Program
           Associate Professor of Clinical Family & Community Medicine
           University of California - San Francisco

           President-Elect, US Professional Association for Transgender Health




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                                             UNITED STATES PROFESSIONAL ASSOCIATION FOR TRANSGENDER HEALTH



        www.wpath.orgiuspath       November 2, 2021
              uspathtwpath.org
        phone: 11-(847) 752-5328   Erica Anderson, PhD
           fax: 1+(224) 633-2166   USPATH President
                         STAFF

                                   CONFIDENTIAL

                                                                       Via email

                                   Dr. Anderson:

       EXECUTIVE COMMITTEE
                                   This letter concerns an article published on October 4, 2021, linked here,
                      President    in which you were interviewed and quoted. In the article you were
            Erica Anderson, PhD
                                   identified as being a member of the WPATH Board of Directors, a position
      Immediate Past-President     you held in service to the USPATH Board, as a part of your role as the
        Joshua Safer, MD, FACP
                                   President of USPATH.
                President-Elect
     Madeline Deutsch, MD, MPH
                                   In the article, you are quoted as saying:

                                   ""It is my considered opinion that due to some of the — let's see, how to
                                   say it? what word to choose? — due to some of the, '71call it just 'sloppy,'
                                   sloppy healthcare work, that we're going to have more young adults who
                                   will regret having gone through this process. And that is going to earn me
                                   a lot of criticism from some colleagues, but given what I see — and I'm
                                   sorry, but it's my actual experience as a psychologist treating gender
                                   variant youth — I'm worried that decisions will be made that will later be
                                   regretted by those making them.""

                                   You have been a member of the USPATH Board of Directors and
                                   Executive Committee in your roles as President-Elect, and then President,
                                   since 2019. At no point during your tenure in these roles have you
                                   initiated a dialogue about your concerns, created an exploratory
                                   committee or task force, or suggested any other process to investigate
                                   this matter in a manner consistent with our organization's values of
                                   open, scientific discourse, nor have you otherwise expressed this concern
                                   to the Executive Committee or the Board. You made no proposal or




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                                             UNITED STATES PROFESSIONAL ASSOCIATION FOR TRANSGENDER HEALTH



        www.wpath.orgiuspath       attempt to have a symposium or discussion on this matter at the
           uspathtwpath.org
                                   upcoming 2021 USPATH Conference. A search was conducted and no
        phone: 1+(847) 752-5328    publications or editorials in the peer-reviewed literature on your stated
           fax: 1+(224) 633-2166
                                   concerns regarding this subject with you listed as an author or co-author
                         STAFF     were found, and to our knowledge you are not now, nor have you ever
                                   been, an investigator or co-investigator on any research study concerning
                                   the care of transgender and gender diverse youth, We intended to
                                   discuss this matter with you at the October 8, 2021, Board meeting,
                                   however you asked that it be removed from the agenda, and then
                                   informed us during the meeting that you had to leave early.

       EXECUTIVE COMMITTEE
                                   You granted an interview in the lay press with an author with known
                      President    biases regarding the care of transgender and gender diverse youth,
            Erica Anderson, PhD
                                   during a period of intense politicization and when litigation is in progress
      Immediate Past-President
                                   in multiple US jurisdictions, where legislation aims to prohibit such care
        Joshua Safer, MD, FACP
                                   by statute. You did not discuss this interview or forthcoming article with
                President-Elect
                                   the Board in advance. Such actions sidestep and politicize the scientific
     Madeline Deutsch, MD, MPH
                                   process and demonstrate poor judgment in the discharge of your role as
                                   Board President.

                                   As such the USPATH Board of Directors is serving you with this formal
                                   letter of reprimand for such actions as described above.

                                   Regards

                                   USPATH Board of Directors




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           Re: Important Info re: Recent Washington Post Article
           From:    Dr Edwards-Lee er <
           To:
           Cc:      marcib                      chechte                      stephen.rosenthc             Eli
                    Coleman
           Date:    Wed, 01 Dec 2021 11:29:19 -0500

           Unfortunately, I'm about to start with my first client. Maybe we can connect briefly later.

           Sent from my iPhone


             On Dec 1, 2021, at 8:27 AM,                                       wrote:




             Hi Laura
             I am not clear what you are referring to in some of this email and would like to discuss with you
             rather than assume as per an email. I tried calling you, but went to voicemail. My cell is

             All best



             From: Dr. Laura Edwards-Leeper <                                  >
             Sent: Wednesday, December 1, 2021 11:20 AM
             To
             Cc: marcib                 Iorenschechter               Stephen.Rosenthal.                  Eli
             Coleman
             Subject: Fwd: Important Info re: Recent Washington Post Article

             H

             Thanks so much for your prompt response and assistance. I hardly slept last night (again)
             because this is weighing on me so much. I actually received an email from one of the top
             doctors in WPATH after I sent you the email, thanking me for the piece and sharing how much
             these issues are also concerning him. Because I feel that time is of the essence, I've decided to
             go ahead and send what I wrote to the people included on this email, as I know them all
             personally. I'll leave it to you to share it with the other WPATH leaders. My fear is that if WPATH
             continues to muzzle clinicians and relay the message to the public that they have no right to
             know about the debate, WPATH will become the bad guy and not the trusted source; it will
             undo all public credibility.

             Thanks,
             Laura

             Laura Edwards-Leeper, PhD (she/her/hers)




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             Website: http://www.drlauraedwardsleepencom/

             Notification of Privacy Risk       Please be advised that email transmissions are capable of beingintercepted, so any confidential
             information that is sent or received cannot have its privacy guaranteed. By requesting an emailed response to your medical
             inquiry, you are acknowledging that you are aware of the risks to your (or your patient's) privacy and indicating that you will take
             responsibility for any related consequences.

             Statement of Confidentiality        This email (and its attachments) may contain privileged or Confidential information. This
             information is intended for exclusive use by the person (or agency) to whom it is addressed. Any use of this information (including
             review, retransmission, or dissemination) is prohibited, except by the intended recipients. If you received this email in error, please
             notify the sender by reply email; in addition, destroy all copies and delete the material from any computer. Thank you. [In
             accordance with the Electronic Communications Privacy Act, 18 U.S.C.§§2510-2521.]




                     Forwarded message
             From:
             Date: Wed, Dec 1, 2021 at 5:03 AM
             Subject: Re: Important Info re: Recent Washington Post Article
             To:


             Dear Laura

             Thank you for sending, I will read again more thoroughly and forward to the appropriate people,
             please give me some time.

             Best regards




                On Dec 1, 2021, at 1:30 AM, Dr. Laura Edwards-Leeper
                                                      wrote:


                Hi




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              I'm reaching out because I'm not sure who at WPATH I should contact. I figured you could
              point me in the right direction or pass this on to the appropriate people.

              As I'm sure you know, Erica Anderson and I recently had an OpEd published in the
              Washington Post. We worked on this for 6 months and submitted it in early September. It
              has been a long and careful process. We had several colleagues give us feedback along the
              way, as we are well aware that it is an extremely sensitive topic and wanted to approach it
              in the most balanced and careful way possible. The last thing either of us want to do is hurt
              trans people, and it is because of the harm we see happening that we wrote the piece.
              Given that we are both incredibly supportive of WPATH and the SOC, we were sure to make
              one of our main points in the article be that providers should be following the WPATH SOC.
              I believe we accomplished that. I think the timing of the piece is actually perfect, given that
              SOC 8 is coming out soon.

              I wanted to let the WPATH leadership know that while we are aware that there are some
              colleagues who are upset with us for doing this, we have received tremendous support for
              taking a stand, speaking up, and highlighlighting the importance of providers following the
              SOC. It seems that many health care providers and the general public seem to understand
              that doing so is critical for the well-being of gender dysphoric youth.

              I only recently started a Twitter account and I have received 1,478 likes on my page alone
              for the article, with 587 retweets and 143 comments (as of right now). The comments on
              the WA Post page were nearing 400 before they shut it off after just a couple of days, and I
              would estimate 95% were positive. I have had more emails that I can keep up with from
              people around the world, thanking us for doing the piece. These have come from many,
              MANY parents, MANY trans people, MANY LGB people, and MANY health care providers
              (mental and medical). Countless providers have shared that they have been afraid to speak
              up about their concerns, but they are now going to start doing so. There is a listserve I'm on
              (mostly pediatric trans medical doctors) and I've had medical and mental health providers
              from that group privately message, thanking me and telling me they are too afraid to share
              their feelings with the entire group. That group largely seems to be a dangerous echo
              chamber that is unable to engage in constructive and critical dialogue about the state of
              the field, which is incredibly worrisome. Jeffrey Flier, the previous dean of Harvard Medical
              School re-tweeted the article and wrote "An outstanding, balanced article that incorporates
              medical science, empathy, and courage." This has been the sentiment of so many others.

              I fear that WPATH's recent stance to shut down this conversation was a huge mistake and is
              resulting in very bad PR for the organization. If there is anything that people will fight to the
              end for, it's their kids. It would be one thing if these were simply right-wing, religious
              conservatives, but these parents are highly educated, liberal, and left-leaning. The majority
              report that they will fully support their child if medical transition is in their best interest,
              but they are furious that they cannot find providers who are following the SOC, and they
              are in disbelief that WPATH is trying to censor the conversation.

              Parents and others (many trans adults and detransitioners) have reached out to me to ask
              how they can relay their concerns about what is happening in the field with WPATH. I can
              direct them to comment on the SOC8 public comments once that is released unless you
              have a different suggestion.




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              As the chair of the Child and Adolescent Committee and a member of BOTH the child and
              adolescent SOC8 committees, I want to strongly urge WPATH leadership to carefully think
              through the next step regarding this issue. The time is now to course correct before the
              field completely implodes on itself.

              I would be happy to discuss my thoughts and concerns further if that would be helpful.

              Sincerely,
              Laura Edwards-Leeper




              Laura Edwards-Leeper, PhD (she/her/hers)




              Website: http://www.drlauraedwardsleeper.com/

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